             Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                                                         ZMJ ""'R
                                                                          \Ji.       Ar         i   /   6 PH 2: 18
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA                          )                     J'(
                                                                           --·-,___-._0vv
                                                                                 ,-._•-   ...
                                                                            ·;:_,·;·,~-
                                                  )
        V.                                        )
                                                  )       Case No. 2:20-cr-00017
JA VON WHITLOCK,                                  )
                                                  )
                Defendant.                        )

     OPINION AND ORDER DENYING DEFENDANT'S MOTION TO SUPPRESS
                                          (Doc. 26)
        Pending before the court is Defendant Javon Whitlock's motion to suppress
evidence obtained as a result of a March 30, 2019 warrantless, non-consensual search of a
vehicle rented in Defendant's name. (Doc. 26.) Defendant argues that the search violated
the Fourth Amendment to the United States Constitution because law enforcement lacked
probable cause to search the vehicle. He further contends law enforcement did not have
reason to believe that evidence of crimes for which his passengers were arrested would be
found in a vehicle he rented and operated. On February 12, 2021, the government
opposed Defendant's motion and Defendant replied on March 18, 2021. On March 19,
2021, the court held an evidentiary hearing, at which time the court took the pending
motion under advisement.
        Defendant is charged in a one-count Indictment with possession with intent to
distribute 28 grams or more of cocaine base, a Schedule II controlled substance, and
heroin, a Schedule I controlled substance, in violation of 21 U.S.C. §§ 84l(a),
84l(b)(l)(B); 18 U.S.C. § 2.
        The government is represented by Assistant United States Attorney Nathanael T.
Burris. Defendant is represented by Jared L. Olanoff, Esq., and Paul S. Volk, Esq.
I.      Findings of Fact.
        The parties agree that there is no material dispute as to the facts which are derived
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 2 of 11




from the parties' briefs and police cruiser camera footage.
       On March 21, 2019, a Drug Enforcement Administration ("DEA") investigation
into drug trafficking between Massachusetts and Vermont resulted in an indictment
charging Sir Michael James and Stephany Guerrero-Rodriguez with conspiracy to
distribute heroin, cocaine base, and cocaine in February, 2019. A federal magistrate judge
issued arrest warrants for Mr. James and Ms. Guerrero-Rodriguez. On March 26, 2019,
the DEA obtained a search warrant for location data associated with a cellular phone
number used by Mr. James.
       On March 30, 2019, law enforcement, who were monitoring Mr. James's cell
phone location data, observed that the phone was traveling north on 1-91 near the
Vermont-Massachusetts border. DEA Special Agent Timothy Hoffmann ("SA
Hoffmann") contacted Vermont State Police ("VSP") Sergeant Richard Slusser to assist
with the execution of the federal arrest warrants and requested that he stop the vehicle,
which SA Hoffmann believed contained Mr. James and possibly Ms. Guerrero-
Rodriguez. He also provided a description of Mr. James.
       At 5:29 p.m., SA Hoffmann observed a black Nissan Sentra (the "Sentra") pass
Exit 2 northbound on Interstate 89 in Vermont. Location data indicated that Mr. James's
cellular phone was in the same area. SA Hoffmann relayed his observation to Sergeant
Slusser, and at 5:37 p.m., Sergeant Slusser observed the Sentra pass the area of Exit 3
northbound on Interstate 89 with three occupants. He stopped the vehicle in the area of
Mile Marker 27. Sergeant Slusser identified the driver as Defendant, and confirmed that
Defendant had rented the Sentra in Massachusetts. The front passenger was identified as
Mr. James and the rear passenger was identified as Ms. Guerrero-Rodriguez.
       Sergeant Slusser told Defendant that he stopped him for going six miles per hour
over the speed limit but that it was "not enough to write you a ticket for." (Doc. 29-4 at
1:44.) He asked for Defendant's license and registration. As he reviewed this
documentation, he advised that he smelled "a little weed" and asked if the occupants had
been smoking to which they replied that they had not. Id. at 2:24. Sergeant Slusser asked
why he could smell weed if they had not been smoking and asked the occupants how

                                             2
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 3 of 11




much marijuana they had to which Mr. James replied that he had seven grams. Sergeant
Slusser told Mr. James that possession of marijuana was "decriminalized in the state" and
that it was "not an arrestable offense," id. at 2:44, but that it had to be secured properly
and that ifhe could smell it, it was probably not secured properly. Sergeant Slusser asked
Mr. James to exit the vehicle, stating that he would need to see how much marijuana he
had, but that he could lawfully possess up to an ounce. Sergeant Slusser asked Mr. James
what pocket the marijuana was in. Mr. James replied that it was not in his pocket but was
in the vehicle. Sergeant Slusser then placed Mr. James in handcuffs.
       SA Hoffmann, a federal DEA agent, arrived on the scene and approached the
Sentra, aiming a rifle at the front driver's side window. Mr. James, still in handcuffs, was
placed in Corporal Mark Busier's police cruiser. Law enforcement officers removed
Defendant and Ms. Guerrero-Rodriguez from the vehicle, handcuffed them both, and
placed them in separate police cruisers. SA Hoffmann began searching the interior and
trunk of the Sentra. He did not ask for consent before doing so. However, the search
began only after Sergeant Slusser stated that he smelled marijuana and Mr. James
admitted that he possessed it and that it was in the vehicle.
       While SA Hoffmann searched the trunk of the vehicle, he stated that there was
"weed in the car," to which Sergeant Slusser responded "we're not going to do anything
with it." Id. at 8:16. Sergeant Slusser then showed SA Hoffmann Defendant's driver's
license and SA Hoffmann stated, "I don't have anything on him." Id. at 8:40. SA
Hoffmann informed Sergeant Slusser that he was ')ust going to toss this car real quick,
see ifwe got anything in here." Id. at 9:09.
       SA Hoffmann, Sergeant Slusser, and DEA Agent Brandon Hope searched the
Sentra's trunk and interior for approximately seven minutes. Thereafter, SA Hoffmann
read Mr. James his Miranda rights and Mr. James waived his rights and agreed to speak
with SA Hoffmann. Mr. James stated that "the package" was near the Sentra's center
console. Agent Hope subsequently removed a plastic panel under the Sentra' s dashboard
and below its stick shift and found approximately 221 grams of cocaine base and 2,100
bags of heroin contained in several socks, as well as 17.2 grams of marijuana.

                                               3
            Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 4 of 11




       Defendant was placed under arrest and transported to the VSP barracks where he
spoke to SA Hoffmann and Special Agent Adam Chetwynd and gave consent to search
his cellular phone.
II.    Conclusions of Law and Analysis.
       A.      Whether Law Enforcement Unlawfully Seized Defendant.
       The Fourth Amendment protects the "right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures" absent
"probable cause, supported by oath or affirmation[.]" U.S. CONST. amend. IV.
"Temporary detention of individuals during the stop of an automobile by the police, even
if only for a brief period and for a limited purpose, constitutes a 'seizure' of 'persons'
within the meaning of [the Fourth Amendment]." Whren v. United States, 517 U.S. 806,
809-10 (1996). "[A] seizure that is lawful at its inception can violate the Fourth
Amendment if its manner of execution unreasonably infringes interests protected by the
Constitution." Illinois v. Caballes, 543 U.S. 405,407 (2005). "'[T]he police can stop and
briefly detain a person for investigative purposes if the officer has a reasonable suspicion
supported by articulable facts that criminal activity 'may be afoot,' even if the officer
lacks probable cause."' United States v. Swindle, 407 F .3d 562, 566 (2d Cir. 2005)
(quoting United States v. Sokolow, 490 U.S. 1, 7 (1989)). "In evaluating whether an
investigative detention is unreasonable, common sense and ordinary human experience
must govern over rigid criteria." United States v. Sharpe, 470 U.S. 675, 685 (1985).
       Defendant contends that he was unlawfully seized when he was removed from his
vehicle, placed in handcuffs, and detained in a police cruiser because law enforcement
did not have an arrest warrant for him and Sergeant Slusser informed Defendant that he
did not intend to write him a ticket. He argues that the officers therefore "had no
justifiable grounds to prolong the stop by seizing and detaining" him. (Doc. 26 at 4.)
       "[P]assengers and drivers have no Fourth Amendment interest in not being
ordered out of [a] stopped vehicle[,]" Mollica v. Volker, 229 F .3d 366, 369 (2d Cir.
2000), because "an order to exit a vehicle during a lawful stop amounts only to a de
minimis intrusion on [a defendant's] liberty." United States v. Weaver, 975 F.3d 94, 101

                                              4
            Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 5 of 11




(2d Cir. 2020). However, "[o]nee the purpose of an ordinary traffic stop is completed, the
officer may not further detain the vehicle or its occupants unless something that occurred
during the traffic stop generated the necessary reasonable suspicion to justify a further
detention." United States v. Perez, 440 F.3d 363, 370 (6th Cir. 2006) (internal quotation
marks and citation omitted). Defendant's detention was thus lawful only ifthere was a
constitutional justification for it beyond the initial traffic violation. See Florida v. Royer,
460 U.S. 491, 500 (1983) (holding that "an investigative detention must be temporary and
last no longer than is necessary to effectuate the purpose of the stop"). The government
offers two bases for Defendant's continued detention and the search of the Sentra. First, it
argues that because law enforcement had arrest warrants for Defendant's passengers, the
search of the Sentra was a search incident to their arrest and Defendant was properly
detained while that search was underway. Second, the government argues that pursuant to
the automobile exception, the smell of marijuana provided probable cause to search the
vehicle and detain Defendant during its search.
       B.      Whether the Search of the Sentra was a Search Incident to Arrest.
       "Searches conducted outside the judicial process, without prior approval by judge
or magistrate, are per se unreasonable under the Fourth Amendment- subject only to a
few specifically established and well-delineated exceptions." Katz v. United States, 389
U.S. 347, 357 (1967) (footnotes omitted). "Among the exceptions to the warrant
requirement is a search incident to a lawful arrest." Arizona v. Gant, 556 U.S. 332, 338
(2009). "The exception derives from interests in officer safety and evidence preservation
that are typically implicated in arrest situations." Id. Pursuant to this exception:
       [p]olice may search a vehicle incident to a recent occupant's arrest only if
       the arrestee is within reaching distance of the passenger compartment at the
       time of the search or it is reasonable to believe the vehicle contains
       evidence of the offense of arrest. When these justifications are absent, a
       search of an arrestee's vehicle will be unreasonable unless police obtain a
       warrant or show that another exception to the warrant requirement applies.
Id. at 351.
       At the time of the search, Mr. James, Ms. Guerrero-Rodriguez, and Defendant
were each handcuffed and seated in separate police cruisers and were therefore
                                               5
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 6 of 11




unquestionably not in reaching distance of the Sentra's passenger compartment. The
government nonetheless contends that the search of the Sentra was permissible because
Mr. James and Ms. Guerrero-Rodriguez "were arrested pursuant to federal arrest warrants
stemming from an Indictment charging them with federal drug crimes." (Doc. 29 at 4.)
       Since the Supreme Court's ruling in Gant, courts have adopted divergent
interpretations of the Gant Court's "reasonable to believe" standard. Some courts have
interpreted it as creating a per se rule based on the crime of arrest so that "certain
offenses will never provide an officer with reasonable belief that a car contains evidence
of the offense, while other offenses always will." State v. Ewertz, 305 P.3d 23, 27 (Kan.
Ct. App. 2013) (explaining the per se approach but not adopting it); see also People v.
Nottoli, 199 Cal. App. 4th 531, 553 (2011) (holding that "Gant indicated that the nature
of the crime of arrest was determinative" because it "requires reasonable possibility, not
probability"). Other courts have rejected this approach, finding instead that Gant's
"reasonable to believe" standard is akin to reasonable suspicion. 1 A third group of courts
have merely noted that the "reasonable to believe" standard is something less than
probable cause. See, e.g., United States v. Edward, 769 F.3d 509,514 (7th Cir. 2014)
(holding that the automobile exception and the search incident to lawful arrest exception
are "interrelated, but not identical" because although "[t]he Court in Gant did not
elaborate on the precise relationship between the 'reasonable to believe' standard and
probable cause ... the Court's choice of phrasing suggests that the former may be a less


1
  See, e.g., United States v. Vinton, 594 F.3d 14, 25 (D.C. Cir. 2010) (holding that "the
'reasonable to believe' standard probably is akin to the 'reasonable suspicion' standard required
to justify a Terry search"); People v. Chamberlain, 229 P .3d 1054, 1057 (Colo. 2010) (holding
that the Gant "Court's use of phrases like 'reasonable to believe' and 'reasonable basis to
believe' is a further indication that it intends some degree of articulable suspicion, a standard
which it has previously acknowledged in its Fourth Amendment jurisprudence as meriting
official intrusion"); Taylor v. State, 137 A.3d 1029, 1033 (Md. Ct. App. 2016) (concluding "that
the 'reasonable to believe' standard is the equivalent ofreasonable articulable suspicion because
we cannot discern any logical difference between the two"); United States v. Taylor, 49 A.3d
818, 824 (D.C. Ct. App. 2012) (finding that "in the absence of further guidance from the
Supreme Court ... officers must have reasonable, articulable suspicion to conduct a vehicle
search under the second prong of Gant").

                                                6
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 7 of 11




demanding standard"); United States v. Polanco, 634 F.3d 39, 42-43 (1st Cir. 2011)
(noting that "the auto exception requires probable cause. But the Gant evidentiary
justification only requires a 'reasonable basis.' These distinctions make a difference")
(citations omitted).
       The government appears to argue in favor of a per se rule whereby an arrest
warrant for a drug crime itself provides reason to believe that evidence of that crime will
be found in a vehicle whose location is detected by cell phone location data obtained for
the purpose of making an arrest. Although this may be true for some cases, it conflicts
with the Gant Court's observation that "[a] rule that gives police the power to conduct[]
a search whenever an individual is caught committing a traffic offense, when there is no
basis for believing evidence of the offense might be found in the vehicle, creates a serious
and recurring threat to the privacy of countless individuals." Gant, 556 U.S. at 345.
Under Gant, law enforcement must instead articulate specific facts that support a
reasonable belief that evidence of the crime of arrest will be found in the vehicle. See
United States v. Vinton, 594 F.3d 14, 25 (D.C. Cir. 2010) (finding that "the officer's
assessment of the likelihood that there will be relevant evidence inside the car must be
based on more than a mere hunch") (internal quotation marks and citation omitted).
       Here, only Mr. James and Ms. Guerrero-Rodriguez were subject to federal arrest
warrants. Their mere status as passengers in Defendant's vehicle, even if detected
through cell phone location data, does not, without more, provide reason to believe that
evidence of the alleged crime would be found in Defendant's vehicle. The Indictment
charging Mr. James and Ms. Guerrero-Rodriguez with drug trafficking offenses contains
no mention of Defendant or his involvement in their alleged criminal activity. It alleges
criminal activity on or about February 22, 2019, one month prior to the traffic stop.
Viewed collectively, the facts do not support a conclusion that evidence of Mr. James's
and Ms. Guerrero-Rodriguez's alleged crimes would be found in a vehicle Defendant
rented and operated a month after the Indictment. See United States v. Taylor, 49 A.3d
818, 826-28 (D.C. Ct. App. 2012) (finding that although "[i]t was, of course,possible,
that evidence of drinking ... would be found in the vehicle, just as it is possible that such

                                              7
            Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 8 of 11




evidence may be found in any vehicle driven by an intoxicated individual[,]" the fact that
the defendant was intoxicated and had the opportunity to hide evidence was insufficient
to establish "reasonable, articulable suspicion that evidence of [driving under the
influence] would be found" in his vehicle). As a result, neither the nature of the crime
under investigation nor the circumstances of the traffic stop provided a reasonable belief
that a search of the Sentra would yield evidence of the passengers' alleged crimes.
Accordingly, the search of the Sentra was not a search incident to arrest under Gant
because the arrestees ceased to have access to the passenger compartment at the time of
the search.

       C.      Whether there was Probable Cause for the Search of the Sentra.
       "Although the Fourth Amendment generally requires police to obtain a warrant
before conducting a search, there is a well-established exception for vehicle searches."
United States v. Jones, 893 F.3d 66, 70 (2d Cir. 2018). "Under the 'automobile
exception' to the Fourth Amendment warrant requirement, police may conduct a
warrantless search of a readily mobile motor vehicle if probable cause exists to believe
the vehicle contains contraband or other evidence of a crime." United States v. Gaskin,
364 F.3d 438, 456 (2d Cir. 2004). "An officer's authority to detain incident to a search is
categorical; it does not depend on the quantum of proof justifying detention." Muehler v.
Mena, 544 U.S. 93, 98 (2005) (internal quotation marks and citation omitted).
       The Supreme Court has characterized probable cause as "a fluid concept" that is
not "readily, or even usefully, reduced to a neat set of legal rules." Illinois v. Gates, 462
U.S. 213,232 (1983). The inquiry "turns on an 'assessment of probabilities' and
inferences, not on proof of specific criminal conduct beyond a reasonable doubt or even
by a preponderance of the evidence." United States v. Martin, 426 F.3d 68, 76 (2d Cir.
2005) (quoting Gates, 462 U.S. at 235). However, "probable cause demands more than a
'mere suspicion' of wrongdoing," Ganek v. Liebowitz, 874 F.3d 73, 83 (2d Cir. 2017),
and is instead "demonstrated where the totality of the circumstances indicates a fair
probability that contraband or evidence of a crime will be found in a particular place."
United States v. Clark, 638 F.3d 89, 94 (2d Cir. 2011) (internal quotation marks and
                                               8
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 9 of 11




citation omitted).
       The government asserts that the "DEA's investigation undoubtedly established
probable cause to search the Sentra for evidence of James's and Guerrero-Rodriguez's
drug crimes." (Doc. 29 at 8.) This "assumes that because probable cause existed to arrest
[Mr. James and Ms. Guerrero-Rodriguez] ... it follows a fortiori that [law enforcement]
had probable cause to search the vehicle for evidence of that crime[,]" however, "[t]here
may be probable cause to search without probable cause to arrest, and vice-versa." United
States v. Rodgers, 656 F.3d 1023, 1028-29 (9th Cir. 2011). "The critical element in a
reasonable search is not that the owner of the property is suspected of crime but that there
is reasonable cause to believe that the specific 'things' to be searched for and seized are
located on the property to which entry is sought." Zurcher v. Stanford Daily, 436 U.S.
547,556 (1978) (footnote omitted). Beyond the existence of arrest warrants for two of
Defendant's passengers and cell phone location data for Mr. James, the government
points to no facts that support probable cause that evidence of his passengers' alleged
crimes would be found in Defendant's rented vehicle. Law enforcement was therefore not
entitled to search the vehicle on this basis.
       In the alternative, the government asserts that law enforcement had probable cause
to search the Sentra after Sergeant Slusser smelled marijuana, even ifhe had no intention
to arrest the Sentra's occupants on that basis. The smell of "marijuana emanating from a
vehicle is sufficient probable cause to search a vehicle." Merricks v. Adkisson, 785 F.3d
553, 560 n.3 (11th Cir. 2015); United States v. Beard, 708 F.3d 1062, 1065 (8th Cir.
2013) (holding that "[t]he smell of marijuana in a vehicle can establish probable cause to
search the vehicle for drugs"); United States v. Trapp, 2014 WL 1117012, at *11 (D. Vt.
Mar. 20, 2014) (finding that "[t]he smell of marijuana provides probable cause to search a
vehicle"). Although the possession of less than one ounce of marijuana has been
decriminalized in Vermont, SA Hoffmann and Agent Hope, federal law enforcement
officers, conducted the search.
       Numerous courts have ruled that a state's legalization of possession of marijuana
negates probable cause for state law enforcement officers to search a vehicle based on the

                                                9
          Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 10 of 11




odor of marijuana. 2 Other courts have held that federal law enforcement officers relying
on the odor of marijuana to establish probable cause are not prohibited from enforcing
federal law and searching for evidence of marijuana merely because the state in which the
search took place has decriminalized its possession. 3
       Because federal law has not decriminalized the possession of marijuana and
because federal law enforcement officers conducted the search of the Sentra, Vermont's



2
  See, e.g., United States v. Martinez, 811 F. App'x 396, 397 (9th Cir. 2020) petition for cert.
pending, (20-7038, filed 1/29/21) (holding that, with respect to county police officers, a "district
court erred by relying on pre-Proposition 64 cases that held that the odor of marijuana alone
provides probable cause to search for violations of state marijuana laws" because Proposition 64
"legalized the possession of 28.5 grams or less of marijuana"); United States v. Jones, 438 F.
Supp. 3d 1039, 1054 (N.D. Cal. 2020) (holding that "even if the [San Francisco Police
Department] officers smelled unburned marijuana emanating from the [vehicle], that smell did
not provide either reasonable suspicion or probable cause to believe that there was contraband in
the [vehicle]"); United States v. Maffei, 417 F. Supp. 3d 1212, 1228 (N.D. Cal. 2019) (holding
that where a city police officer smelled unburned marijuana and defendant indicated "that there
was marijuana inside the [v]ehicle, and that he had a cannabis card ... there was not a fair
probability that contraband or evidence of a crime would be found in the [v ]ehicle") (internal
quotation marks omitted); Scofield v. City of Detroit, 2020 WL 5801219, at *6 (E.D. Mich. Sept.
29, 2020) (holding that "although [a city of Detroit police officer] testified that he smelled
unburned marijuana when the passenger opened the car door to exit the [vehicle], [p]laintiffhad
informed the officer that he had a medical marijuana card and therefore his simple possession of
marijuana would not provide probable cause for the search"). Some courts have emphasized that
federal law criminalizing possession of marijuana cannot provide state law enforcement officers
with probable cause to search a vehicle. See United States v. Talley, 467 F. Supp. 3d 832, 836
(N.D. Cal. 2020) (holding that the fact that possession of marijuana was a federal crime did not
provide state law enforcement officers with probable cause to search a vehicle because "to
permit this end-run around [the state's] legalization scheme would grant state law enforcement
officers carte blanche to disregard the Fourth Amendment rights of large numbers of [state]
residents engaging in activity the state has deemed lawful"); Jones, 438 F. Supp. 3d at 1054
(holding that "the [c]ourt is not persuaded by the government's arguments that notwithstanding
the passage of Proposition 64, the [state law enforcement] officers could rely on the smell of
marijuana alone to search the car because marijuana is illegal under federal law").
3
  See, e.g., United States v. Harrison, 2018 WL 1325777, at *3 (D. Del. Mar. 15, 2018) (holding
that "[t]he decriminalization of marijuana does not affect the court's reliance on well-established
precedent that the smell of marijuana establishes probable cause" because "[e]ven if marijuana
has been decriminalized in some instances in Delaware, every possession and usage of marijuana
was not made legal" and Delaware's decriminalization "statute explicitly states that '[n]othing
contained herein shall be construed to repeal or modify any law or procedure regarding search
and seizure"').

                                                 10
         Case 2:20-cr-00017-cr Document 35 Filed 04/16/21 Page 11 of 11




decriminalization of marijuana in certain circumstances does not render DEA agents'
search of the Sentra unlawful.
       The smell of marijuana established probable cause for federal law enforcement's
search of the Sentra under the automobile exception. Defendant could therefore be
lawfully detained during the search. See Cooper v. City ofNew Rochelle, 925 F. Supp. 2d
588, 612 (S.D.N.Y. 2013) (finding that "any detention incident to the lawful search of
[the operator's] vehicle cannot give rise to a Fourth Amendment violation"). Defendant's
motion to suppress evidence obtained as a result of that search is therefore DENIED.
                                    CONCLUSION
       For the foregoing reasons, the court DENIES Defendant's motion to suppress.
(Doc. 26.)
SO ORDERED.
       Dated at Burlington, in the District of Vermont, this / b ~ay of April, 2021.

                                                   ~-
                                                 Christina Reiss, District Judge
                                                 United States District Court




                                            11
